Case 1:17-cv-00493-JAO-RT    Document 224       Filed 11/25/24   Page 1 of 4 PageID.7337



  BRIAN M. BOYNTON
  Principal Deputy Assistant Attorney General
  BURDEN H. WALKER
  Acting Deputy Assistant Attorney General
  AMANDA N. LISKAMM
  Director
  LISA K. HSIAO
  Senior Deputy Director
  HILARY K. PERKINS
  Assistant Director
  NOAH T. KATZEN (D.C. Bar No. 1006053)
  Trial Attorney
  Consumer Protection Branch
  U.S. Department of Justice
  450 Fifth St., N.W.
  Washington, DC 20530
  Tele: 202-305-2428
  Fax: 202-514-8742
  Noah.T.Katzen@usdoj.gov

  Attorney for Defendants

                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAIʻI

  HEIDI PURCELL, M.D., FACOG, et al.

                    Plaintiffs,                       CIV. NO. 1:17-00493-
                                                      JAO-RT
  v.
                                                      FIRST STIPULATION
  XAVIER BECERRA, et al.,                             TO EXTEND TIME

                    Defendants.
Case 1:17-cv-00493-JAO-RT     Document 224     Filed 11/25/24   Page 2 of 4 PageID.7338



        On July 29, 2024, this Court granted the Parties’ stipulation setting briefing

  deadlines and word limitations for the Parties’ cross-motions for summary judgment.

  ECF No. 211. Under that stipulated schedule, Plaintiffs’ motion for summary

  judgment was to be due on September 30, 2024; Defendants’ combined opposition

  and cross-motion for summary judgment was to be due on November 26, 2024;

  Plaintiffs’ combined reply and opposition was to be due on January 17, 2025;

  Defendants’ reply was to be due on February 28, 2025; and the joint appendix was

  to be due on March 14, 2025. Id.

        On September 30, 2024, this Court granted a joint motion extending Plaintiffs’

  time to file their motion for summary judgment until October 2, 2024, and increasing

  the word count limit on the Parties’ concise statements of fact. ECF No. 219.

        Having conferred, the Parties hereby stipulate to extend the remaining

  summary judgment deadlines as follows:

           1. Defendants will file their combined cross-motion for summary

              judgment and opposition to Plaintiffs’ motion for summary judgment

              no later than December 3, 2024;

           2. Plaintiffs will file their combined reply in support of their motion for

              summary judgment and opposition to Defendants’ cross-motion for

              summary judgment no later than January 31, 2025;

           3. Defendants will file their reply in support of their cross-motion for


                                           2
Case 1:17-cv-00493-JAO-RT       Document 224     Filed 11/25/24   Page 3 of 4 PageID.7339



                 summary judgment no later than March 14, 2025;

              4. The Parties shall jointly prepare, and Plaintiffs shall file, a joint

                 appendix containing portions of the administrative record cited in the

                 Parties’ briefs no later than March 28, 2025.

  This is the Parties’ first stipulation to modify the summary judgment briefing

  deadlines other than the deadline for Plaintiffs’ motion for summary judgment. All

  word count limits previously set by the court shall remain in place under this revised

  schedule.

  Respectfully submitted,


  JONGWOOK “WOOKIE” KIM
  11020
  ACLU of Hawaii Foundation
  P.O. Box 3410
  Honolulu, HI 96801                             JULIA KAYE*
  T: (808) 522-5905                              WHITNEY WHITE*
  F: (808) 522-5909                              JENNIFER DALVEN*
  wkim@acluhawaii.org                            JOHANNA ZACARIAS*
  tbrack@acluhawaii.org                          American Civil Liberties Union
                                                 Foundation
  /s/ Lorie Chaiten                              125 Broad Street, 18th Floor
  LORIE CHAITEN*                                 New York, NY 10004
  American Civil Liberties Union                 T: (212) 549-2633
  Foundation                                     F: (212) 549-2650
  1640 North Sedgwick Street                     jkaye@aclu.org
  Chicago, IL 60614                              jdalven@aclu.org
  T: (212) 549-2633                              wwhite@aclu.org
  F: (212) 549-2650                              jdalven@aclu.org
  lchaiten@aclu.org                              jzacarias@aclu.org

                                                 RACHEL REEVES*

                                             3
Case 1:17-cv-00493-JAO-RT   Document 224   Filed 11/25/24   Page 4 of 4 PageID.7340



  American Civil Liberties Union           F: (202) 942-5999
  Foundation                               john.freedman@arnoldporter.com
  915 15th Street NW
  Washington, DC 20005                     Attorneys for Plaintiffs
  T: (212) 549-2633
  F: (212) 549-2650
  rreeves@aclu.org

  JOHN A. FREEDMAN*
  Arnold & Porter Kaye Scholer LLP
  601 Massachusetts Ave., NW
  Washington, DC 20001
  T: (202) 942-5000

                                           /s/ Noah T. Katzen
                                           NOAH T. KATZEN
                                           Consumer Protection Branch
                                           U.S. Department of Justice

                                           Attorney for Defendants Xavier
                                           Becerra, in his official capacity as
                                           Secretary, U.S. Department of Health
                                           and Human Services; U.S. Food and
                                           Drug Administration; and Robert M.
                                           Califf, in his official capacity as
                                           Commissioner of Food and Drugs

                                           *admitted pro hac vice

  DATED: Washington, DC, November 25, 2024

  APPROVED AND SO ORDERED.

  Dated:                     , 2024   _______________________________
                                      Jill A. Otake
                                      United States District Judge

  CIV. NO. 1:17-00493-JAO-RT; Heidi Purcell, M.D., FACOG v. Xavier Becerra;
  First Stipulation To Extend Time

                                       2
